          Case 2:21-cv-01515-GJP Document 3 Filed 05/10/21 Page 1 of 1


                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ALICIA MCKENZIE,                                  :
                                                   :   Case No. 2:21-cv-01515-GJP
        Plaintiff,                                 :
                                                   :
        v.                                         :
                                                   :
 ALEXION PHARMACEUTICALS, INC.,                    :
 DAVID R. BRENNAN, CHRISTOPHER J.                  :
 COUGHLIN, DEBORAH DUNSIRE, PAUL                   :
 A. FRIEDMAN, LUDWIG HANTSON,                      :
 JOHN T. MOLLEN, FRANCOIS NADER,                   :
 JUDITH A. REINSDORF, ANDREAS                      :
 RUMMELT, ASTRAZENECA PLC, DELTA                   :
 OMEGA SUB HOLDINGS INC., DELTA                    :
 OMEGA SUB HOLDINGS INC. 1, and                    :
 DELTA OMEGA SUB HOLDINGS LLC 2,                   :
                                                   :
        Defendants.                                :

                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), plaintiff hereby voluntarily dismisses this action (“Action”). Defendants have filed

neither an answer nor a motion for summary judgment in the Action.

 Dated: May 10, 2021                               GRABAR LAW OFFICE

                                             By:
                                                   Joshua H. Grabar (#82525)
                                                   One Liberty Place
                                                   1650 Market Street, Suite 3600
                                                   Philadelphia, PA 19103
                                                   (267) 507-6085
                                                   jgrabar@grabarlaw.com

                                                   Counsel for Plaintiff
